      Case 2:13-cr-00096-RHW              ECF No. 776             filed 08/21/14             PageID.2986 Page 1 of 3
PROB 12B
(7/93)

                                         United States District Court

                                                            for the

                                          Eastern District of Washington

                       Request for Modifying the Conditions or Term of Supervision
                                      with Consent of the Offender
                                        (Probation Form 49, Waiver of Hearing is Attached)




 Name of Offender: Anthony D. Garitone                            Case Number: 2:13CR00096-RHW-10
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: March 17, 2014                        Type of Supervision: Supervised Release
 Original Offense: Conspiracy to Commit Bank Fraud,               Date Supervision to Commence: October 10, 2014
 18 U.S.C. § 1349; Aggravated Identity Theft, 18
 U.S.C. § 1028A(a)(1)
 Original Sentence: Prison - 17 months                            Date Supervision to Expire: October 9, 2017
                    TSR - 36 months


                                           PETITIONING THE COURT

To modify the conditions of supervision as follows:


21         You shall reside in a residential reentry center (RRC) for a period of up to 180 days. You shall abide by
           the rules and requirements of the facility and shall participate in programs offered by the facility at the
           direction of the supervising officer.


22         You shall complete a mental health evaluation and follow any treatment recommendations of the evaluating
           professional which do not require forced or psychotropic medication and/or inpatient confinement absent
           further order of the Court. You shall allow reciprocal release of information between the supervising
           officer and treatment provider. You shall contribute to the cost of treatment according to your ability to
           pay.

                                                           CAUSE

Recent contact with Mr. Garitone suggests that the above-mentioned modifications are appropriate. In an attempt
to provide federal funding, if necessary, it is requested that the Court modify the conditions of supervision to include
the aforementioned conditions.

Anthony Garitone was asked whether he would waive his right to a hearing and agree to the modifications as
previously described. As indicated by the enclosed waiver of hearing to modify conditions of supervised release
form, Mr. Garitone has agreed to the proposed modifications.

It is anticipated that Mr. Garitone will secure adequate housing and employment while residing at the RRC. If the
Court concurs with the request for modification, it is requested he be allowed to release from the RRC when
legitimate housing has been secured and approved by the undersigned officer.
       Case 2:13-cr-00096-RHW          ECF No. 776         filed 08/21/14     PageID.2987 Page 2 of 3
       Prob 12B
       Re: Garitone, Anthony D.
       August 20, 2014
       Page 2
It is respectfully recommended that the attached waiver of hearing to modify conditions of supervised release be
adopted requiring Anthony Garitone to reside at the RRC for a period of up to 180 days, and to participate in mental
health treatment at the direction of the U.S. Probation Office.

                                                                             Respectfully submitted,
                                                                     by      s/Tommy Rosser
                                                                             Tommy Rosser
                                                                             U.S. Probation Officer
                                                                             Date: August 20, 2014
THE COURT ORDERS

[ ]        No Action
[ ]        The Extension of Supervision as Noted Above
[ X]       The Modification of Conditions as Noted Above
[ ]        Other

                                                                             Signature of Judicial Officer

                                                                                August 21, 2014
                                                                             Date
Case 2:13-cr-00096-RHW   ECF No. 776   filed 08/21/14   PageID.2988 Page 3 of 3
